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                             NFL Is Most Competitively Balanced          ID #:60585




      Most
                                        Within Seasons                                                 Across Seasons
    Balanced
                                   1.                                                       1.




                                   2.                                                       2.




                                   3.                                                       3.




      Least                        4.                                                       4.
    Balanced

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